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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

ESTATE OF ROBERT P. HARTWICK, et al.,     )
                                          )
                  Plaintiffs,             )
                                          )
      v.                                  )                         Civil Action No. 1:18-cv-1612-CKK
                                          )
THE ISLAMIC REPUBLIC OF IRAN, et al.,     )
                                          )
                  Defendants.             )
__________________________________________)

                       MOTION FOR ENTRY OF PROTECTIVE ORDERS

         Plaintiffs respectfully request that the Court enter the proposed Agreed Protective Orders

attached hereto as Exhibits A-C. Plaintiffs have sought discovery from third parties Bank of China

New York Branch, The Bank of New York Mellon and Societe Generale (collectively, the

“Banks”). Plaintiffs and the Banks signed the proposed Agreed Protective Orders1 which will

govern the use of documents and information produced by the Banks to Plaintiffs.

Dated: March 8, 2021                                  Respectfully submitted,

                                                      By: /s/ Dustin B. Herman
                                                      DUSTIN B. HERMAN (Pro Hac Vice)
                                                      Ohio Bar No. 0093163
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                                                      Counsel for Plaintiffs




1
 The proposed Agreed Protective Order between Plaintiffs and (i) Bank of China New York Branch is attached hereto
as Exhibit A, (ii) The Bank of New York Mellon is attached hereto as Exhibit B, and (iii) Societe Generale is attached
hereto as Exhibit C.


                                                          1
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on March 8, 2021, I filed the foregoing document by means of the Court’s

ECF system, which served copies of the filing on all counsel of record entered in the case.



                                                                         /s/ Dustin B. Herman
                                                                         Counsel for Plaintiffs




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